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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN


CHRISTOPHER FRANCIS, Individually and
On Behalf of All Others Similarly Situated,
                                                    CASE NO. 2013-cv-14258
                           Plaintiff,

         v.                                         NOTICE OF VOLUNTARY DISMISSAL
                                                    WITHOUT PREJUDICE
KAYDON CORPORATION, JAMES
O’LEARY, DAVID A. BRANDON, MARK
A. ALEXANDER, TIMOTHY J.
O’DONOVAN, WILLIAM KENTON
GERBER, PATRICK P. COYNE, ATLAS
MANAGEMENT, INC., DUBLIN
ACQUISITION SUB INC., and
AKTIEBOLAGET SKF,

                           Defendants.


              NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

         NOW COMES the Plaintiff, Christopher Francis, by and through his attorneys, Hubbard

Snitchler & Parzianello PLC, and pursuant to Fed. R. Civ. P. 41(a)(1)(A)., hereby gives notice of

his voluntary dismissal of the above-styled action, without prejudice, and without costs to either

party.

                                         Respectfully Submitted,

                                         HUBBARD SNITCHLER & PARZIANELLO PLC


                                         By: /s/ John A. Hubbard
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Dated: February 13, 2014
